772 F.2d 905
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.WILLIAM J. BOGARD, PETITIONER-APPELLANT,v.UNITED STATES OF AMERICA, RESPONDENT-APPELLEE.
    NO. 85-5508
    United States Court of Appeals, Sixth Circuit.
    8/2/85
    
      W.D.Ky.
      AFFIRMED
      ORDER
      BEFORE:  ENGEL, JONES and KRUPANSKY, Circuit Judges.
    
    
      1
      This matter is before the Court upon consideration of appellant's motion for appointment of counsel.
    
    
      2
      It appears from the file that the final order was entered February 11, 1985.  The notice of appeal filed on June 3, 1985 was 52 days late.  Rule 4(a) and 26(a), Federal Rules of Appellate Procedure.
    
    
      3
      The failure of an appellant to timely file a notice of appeal deprives an appellate court of jurisdiction.  Compliance with Rule 4(a), Federal Rules of Appellate Procedure, is a mandatory and jurisdictional prerequisite which this Court can neither waive nor extend.  Peake v. First Nat. Bank and Trust Co. of Marquette, 717 F.2d 1016 (6th Cir. 1983).  Rule 26(b), Federal Rules of Appellate Procedure, specifically provides that this Court cannot enlarge the time for filing a notice of appeal.
    
    
      4
      It is ORDERED that the appeal be and it hereby is dismissed for lack of jurisdiction.  Rule 9(d)(1), Rules of the Sixth Circuit.
    
    
      5
      It is further ORDERED that the motion for appointment of counsel be and hereby is denied.
    
    